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                 IN THE UNITED STATES DISTRICT COURT FOR miE                                  FILED
                                                                                         IN OPFN COURT
                            EASTERN DISTRICT OF VIRGINIA


                                         Alexandria Division
                                                                                       JUN - B2016

                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                       ALEXANDRIA, VIRGINIA
UNITED STATES OF AMERICA                                Criminal No. 1;16-CR-140


                                                        Count One: 18 U.S.C. § 371
                                                        Conspiracy to Commit Offenses Against
                                                        the United States
    V.

                                                        Count Two: 18 U.S.C. § 1030(b)
                                                        Conspiracy to Commit Unauthorized
                                                        Computer Intrusions

PETER ROMAR,                                            Count Three: 18 U.S.C. § 1956(h)
   (a/k/a "PIERRE ROMAR"),                              Conspiracy to Launder Monetary
              Defendant.                                Instruments


                                                        Forfeiture Notice




                                           INDICTMENT


                               June 2016 Term - Alexandria, Virginia

THE GRAND JURY CHARGES THAT:


         At all times relevant to this Indictment:

                                   GENERAL ALLEGATIONS


         1.      The Syrian Electronic Army ("SEA") was a group that, beginning in at least fall

2011, was involved in a number of well-publicized computer intrusions in support of the Syrian

Government and Syrian president Bashar al-Assad.

         2.      "Phishing" is the act of attempting to acquire information, such as usemames and

passwords, by masquerading as a trustworthy entity in an electronic communication.

"Spearphishing" consists of "phishing" attempts directed at specific individuals or companies.
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 Individuals engaged in speaiphishing may gather personal information about their target to
increase the likelihood of succeeding in-their spearphishing attempts.
        3.     Among other methods ofcomputer intrusions that SEA utilized, SEA members
would send spearphishing emails to victims that purported to come from atrusted source and that
contained hyperlinks to websites that appeared to be trusted websites, but that actually were
controlled by the SEA. Any recipient that clicked on such ahyperlink would then be directed to
an SEA-controlled website that mimicked alegitimate, trusted website. The recipient would then
be asked for credentials, such as ausemame and password, for access to the supposedly trusted
website. For attacks that were successful, at least one recipient provided his or her credentials
when prompted. The SEA would then use the stolen credentials to obtain unauthorized access to
the computer systems ofthe target entity. Once the systems were accessed, the SEA would
conduct avariety ofunauthorized activities, including but not limited to redirecting legitimate
Intemet traffic, defacing and altering website text, sending messages using the victim's accounts,
and conducting further phishing attempts.

       4.      Co-Conspirator 1, known as "The Shadow," and Co-Conspirator 2, known as
"Th3 PrO," were Syrian nationals located inSyria and members ofthe SEA.
       5.     Defendant PETER ROMAR, also known as "PIERRE ROMAR,"
("ROMAR"), was a Syrian national residing in Germany.
       6.     Beginning in oraround 2013, ROMAR sought to work with the SEA. For
example, on or about April 28, 2013, ROMAR reached out to Co-Conspirator 2for assistance
with computers intrusions that ROMAR represented he was conducting. Co-Conspirator 2
recommended that ROMAR speak with Co-Conspirator 1, and subsequently connected the two
of them through social media.

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        7.     Beginning in or around July 2013, ROMAR, Co-Conspirator 1, and others known
and unknown to the Grand Jury, extorted or attempted to extort at least 14 different victims in the
United States and abroad, after successfully gaining unauthorized access to the victims'
computer networks. In total, members ofthe Conspiracy demanded more than $500,000 from
those 14 victims, although they accepted smaller amounts in many circumstances.
       8.     Victim 1was aEurope-based web hosting company.
       9.     Victim 2was aCalifornia-based dedicated server and web hosting company.
       10.    Victim 3was an online media company with offices in the United States. Victim
3used and controlled aserver located in Ashbum, Virginia, within the Eastern District of
Virginia.

       11.    Victim 4was an online entertainment service with offices in the United States and
elsewhere.

       •12,   Victim 5was aSwitzerland-based web hosting company.
       13.    On or about May 9, 2016, pursuant to Title 18, United State Code, Section 3238,
ROMAR was first brought to the Eastern District ofVirginia.
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                                          COUNT ONE

             Conspiring to Commit Offernes Against the UnitedStates (18 U,S,C, §371)
THE GRAND JURY FURTHER CHARGES THAT:

        14.      Paragraphs 1through 13 ofthe Indictment are incorporated herein by reference.
        15.      Beginning as early as in or about January 2013, the exact date being unknown to
the Grand Jury, and continuing through in or about September 2014, in the Eastern District of
Virginia and elsewhere, the defendant, PETER ROMAR (a/k/a "PIERRE ROMAR"), did
knowingly and willfully combine, conspire, confederate, and agree with others known and
unknown to the Grand Jury, to commit offenses against the United States, that is (i) to transmit in
interstate and foreign conmierce, with intent to extort from aperson, firm, association, and
corporation, money and other things ofvalue, acommunication containing athreat to injure the
property and reputation ofthe addressee and ofanother, including Victims 1-5, in violation of
Title 18, United States Code, Section 875(d); and (ii) to receive, possess, conceal, and dispose of
any money and other property that was obtained from the commission ofany offense under this
chapter that is punishable by imprisonment for more than one year, including Title 18, United
States Code, Section 875(d), knowing the same to have been unlawfully obtained, in violation of
Title 18,United States Code, Section 880.

                             MannerandMeans of the Conspiracy
       16.      The manner and means by which the defendant, PETER ROMAR (a/k/a
"PIERRE ROMAR"), and his co-conspirators sought to accomplish the objects ofthe
conspiracy included, among others, the following:
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             A. Amember ofthe Conspiracy, in many instances Co-Conspirator 1, obtained
unauthorized access to avictim company's computer systems, including by sending
spearphishing emails toemployees ofthat company.
             B. Once the victim's computer systems were accessed, amember ofthe Conspnacy
would redirect legitimate Internet traffic to or from the victim's systems, deface and alter website
text, send messages using the victim's accounts, attempt further phishing attempts, exfiltrate
data, or engage in other unauthorized activities.

             C. Amember ofthe Conspiracy, in many instances Co-Conspirator 1, would then
send emails to employees ofthe victim companies that indicated his responsibility for the
unauthorized access and provided proof ofsuch access. Amember ofthe Conspiracy, in many
instances Co-Conspirator 1, would then demand payments from the victim and make threats
about what would happen ifpayment was not received, including but not limited to threats that
he would cause further damage to the victim's systems or sell information stolen from the victim.
             D. ROMAR, who resided in Germany, would receive payments that Co-Conspirator
1demanded from victims that could not be transmitted directly to the members ofthe
Conspiracy located in Syria.

                                            Overt Acts

       17.      In furtherance ofthe conspiracy, and to accomplish its purpose and objects, at
least one ofthe conspirators committed and caused to be committed, in the Eastern District of
Virginia and elsewhere, at least one ofthe following overt acts, among others:
      Extortion of Web Hostins Companies in Europe and California (Victims 1 and 2)
             A. On or about October 29, 2013, Co-Conspirator 1 sent an email to Victim 1 and
stated that he had "hacked [Victim I's] websites servers and databases" and "downloded [sic] it
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all. Co-Conspirator 1demanded €300,000 in exchange for refraining from selling Victim Ts
databases to othercompanies.

           B. On or about October 30, 2013, Co-Conspirator 1 emailed Victim 1 and lowered
his price to €15,200. Victim 1responded that it could not make bank transfers to Syria because
of "sanctions."

           C. On oraboutOctober31,2013,Co-Conspirator 1asked Victim 1to send the
money through an intermediary bank, and sent aphotograph ofhis banking information to
Victim 1, which listed his true name as the beneficiary of an account and acorrespondent bank
located in Frankfurt, Germany.

           D. On or about November 27, 2013, Co-Conspirator 1 sent an email to Victim 2
stating that he had "hacked your websites servers and databases and i downloaded it all" and
requesting money to avoid future unlawful intrusions. Co-Conspirator 1 then threatened that "if
you d[o]n't respond ... i will hack your website/s ... i will use your database and your servers
[for] my work[.] you have just Ih to respond[.]"

           E. When Victim 2 failed to respond to his initial threat, on or about November 27,
2013, Co-Conspirator 1compromised the company's domain registration account and modified
the routing information for the company's and some of its clients' websites. As a result of this
compromise, Internet traffic to such sites was redirected to a Conspiracy-controlled website
bearing the following message:

                                           HACKED

       I told you motherfucker don't fuck with me go now and cry like a little bitch you
       and your fucking CEO all your data downloded [sic] and one of it has been sold.
          F. On or about November 28, 2013, when a representative of Victim 2 asked Co-
Conspirator 1by email what the company could do to convince Co-Conspirator 1to relinquish
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control over the re-directed domains, Co-Conspirator 1demanded €105,000. Co-Conspirator 1
also threatened to sell information regarding vulnerabilities in Victim 2's systems to other
hackers ifthe company failed to comply with his demands.
           G. On orabout November 28,2013, Co-Conspirator 1 directed Victim 2 to send the
money through an intermediary bank, and sent aphotograph ofhis banking information to
Victim 2, which listed his true name as the beneficiary ofan account and acorrespondent bank
located in Frankfurt, Germany.

           H. On orabout December 6,2013, the representative of Victim 2 informed Co-
Conspirator 1by email that Victim 2's bank was "giving [Victim 2] ahard time" sending money
to Syria, but that Victim 2was investigating other forms ofelectronic payment systems to
provide funds to Co-Conspirator 1, including PayPal, Bitcoin, and Webmoney. Co-Conspirator
1replied that none ofthose payment systems were available to him in Syria, but that he would
try to find another method.

           I. On orabout December 15,2013, Co-Conspirator 1reached out to ROMAR
through social media to ask for assistance with receiving money in Syria from Victim 1and
Victim 2. Co-Conspirator 1informed ROMAR that the money was located in two places: the
European location ofVictim 1and the United States. Co-Conspirator 1further stated that he was
supposed to receive two payments, and then stated he was receiving money from Victim 1
because he hacked them and worked for them. Co-Conspirator 1also indicated that ifhe did not
receive payment from Victim 1 that he would declare "war" on them.

           J. On or about December 15, 2013, as part ofthe above communications through
social media, ROMAR agreed to assist Co-Conspirator 1with transferring both payments to
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 Syria. ROMAR also confirmed that aparticular German bank could not transfer money to Syria
 because of sanctions.

                           Extortion Payment Received from Victim 1

            K. On or about December 15, 2013, Co-Conspirator 1instructed Victim 1by email
to please send the money to Peter Romar[ ]in Germany via western union,"
            L. On or about December 20, 2013, after receiving no reply from Victim 1, Co-
Conspirator 1responded with threats in an email entitled "important Ihacked your servers":

        I will take your not responding is a breach of the Convention
        SoI. have theright to do what I want with the information ...

        As you know, we (Ethical Hackers) have a reputation and we must maintain it
        , I did not took [sic] much time to hack your servers
       But Iassure you Iwill provide plenty oftime to I [sic] recover my right
       Note:
       You have one day to respond
       If you do not respond
       ....... ??:)

           M. On or about December 27,2013, after Victim 1again indicated awillingness to
pay, Co-Conspirator 1responded that his "friend" would sign a"contract" that Victim 1had
requested Co-Conspirator 1sign in order to make the payment through the company's bank
account.


           N. On December 30,2013, ROMAR sent an email in English to Victim 1and
attached asigned contract and ascanned image of his German passport.
           O. On orabout January 2,2014, Co-Conspirator 1forwarded ROMAR an email with
no new text, but which included in the email chain the text ofthe email quoted above in
paragraph L, entitled "important I hacked your servers."
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             p. On or about March 6,2014, Co-Conspirator 1agreed to reduce the extortion
payment from Victim 1to €5,000 because ofdifficulties Victim 1was having in trying to send
the money.

           Q. On or about March 6,2014, Co-Conspirator 1emailed Victim 1aphotograph of
ROMAR's bank card and ROMAR's bank account information.

           R. On orabout March 24,2014, Co-Conspirator 1forwarded to ROMAR a
nondisclosure agreement that Victim 1asked that ROMAR sign before sending any money. In
his email to ROMAR, Co-Conspirator 1asked ROMAR to read the agreement and that if
ROMAR did not agree with something, to let Co-Conspirator 1know.
           S. On or about March 26,2014, ROMAR emailed Co-Conspirator 1, addressed him
as "The Shadow," and attached ascan ofthe non-disclosure agreement bearing ROMAR's
signature and address in Germany.

           T. On or about April 22,2014, Victim 1emailed Co-Conspirator 1and informed him
that it had received confirmation that €5,000 was sent to the "German bank account."

                          Extortion Payment Received from Victim 2

          U. On orabout December 15,2013, Co-Conspirator 1 sent an email to a
representative ofVictim 2and instructed him to send the money to "Peter Romar in Germany via
western union."

          v.      On orabout December 25, 2013, Co-Conspirator 1 forwarded his email
correspondence with Victim 2 regarding the Western Union payment to ROMAR. In that
correspondence, Co-Conspirator 1had demanded immediate payment from the representative of
Victim 2. As part ofthat email, Co-Conspirator 1instructed ROMAR, in English, to transmit
€1450 to Co-Conspirator2.

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             W. On or about December 27,2013, ROMAR received aWestern Union payment
from Victim 2 ofapproximately €1039.13, before fees and taxes.
             X. On or about December 27,2013, ROMAR communicated with Co-Conspirator
1through social media and stated that he transferred the money from Victim 2 after fees and
taxes, approximately €935, to acontact ofhis in Lebanon. ROMAR informed Co-Conspirator 1
that he needed to first send the money to Lebanon because Western Union would not send the
money to Syria. ROMAR further stated that his contact in Lebanon would get the money to
Syria.

                   Extortion of U.S,'based Online Media Company (Victim3)
             Y.   On or about March 7, 2014, a member ofthe Conspiracy gained unauthorized
access, via aspearphishing attack, to Victim 3's computer servers and databases, including a
server located in Ashbum, Virginia, within the Eastern District ofVirginia.
             Z.   On or about March 8,2014, an employee at Victim 3received messages from a
compromised Google accoxmt belonging to Victim 3, in which the communicant, Co-Conspirator
1, took responsibility for the hack. In those communications, Co-Conspirator 1demanded
€20,000 in exchange for stopping "the hack" against the company, refraining from selling the
company's database or erasing information from the company's computer systems, and returning
information he had taken from the company.
            AA. On or about March 10,2014, after an executive of Victim 3 informed Co-

Conspirator 1that the company could not send ftmds from aU.S.-based bank to Syria, Co-
Conspirator 1asked the company ifit could send the money to "a person in Germany."
            BB. On or about March 10, 2014, when an executive ofVictim 3rejected Co-
Conspirator 1's proposal, Co-Conspirator 1threatened to "hack and destroy" the company.
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            CC. On or about March 19,2014, after not receiving the demanded payment from
Victim 3, Co-Conspirator 1used Victim 3's customer email lists to distribute spam emails to
thousands ofVictim 3'scustomers. Those emails advertised the sale ofVictim 3's"hacked"
databases for €5000.

    Extortion of Online Entertainment Service with Offices in the United States (Victim 4)
            DD. On or about May 21,2014, amember ofthe Conspiracy sent spearphishing
emails to employees at Victim 4 that appeared to be from its Chief Executive Officer with a
purported hyperlink to anews article regarding Victim 4, but which instead directed recipients to
aConspiracy-controlled website that mimicked the log-in portal for Victim 4's email system. At
least one recipient clicked on the embedded hyperlink and, when prompted by the fake log-in
portal, entered valid credentials.

           EE. On or about May 21,2014, Co-Conspirator 1sent the following message to
several Victim 4 employees:



       i hacked all your server and maybe i hacked your databases too
       i can help you to avoid this hack again but i want fees in return



       so are you interested in this deal or not ?
       DON'T IGNORE THIS EMAIL
       you must to respond at least with YES or NO
       I repeat
       (((((DONT IGNORE THIS EMAIL))))))

           FF. On or about May 23,2014, Co-Conspirator 1emailed a representative at Victim
4 a request for €7,500 in exchange for information on how he perpetrated the unlawfixl intrusion.
In that email, Co-Conspirator 1stated that.. i'm from syria and you should have to send

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money outside the U.S. Because U.S. does not deal with the Syrian banks because ofUSA
sanctions[.]"

            GG. On orabout May 26,2014, Co-Conspirator 1indicated to Victim-4 that ifthere
was aproblem transferring money to Syria, then Victim 4could send the money to ROMAR in
Germany. Co-Conspirator 1attached aphotograph ofROMAR-s bank card and ROMAR's bank
account information.

            HH. OnoraboutMay28,2014, after Victim 4indicated it would not pay Co- •
Conspirator 1, Co-Conspirator 1sent athreatening email to arepresentative of Victim 4, which
stated, "What do you expect me to do now? :) [D]o you know what Ihave info [sic] about your
company?"'

                          Extortion of Web Hostins Provider (Victim 5)

           II.   On or about July 26,2014, Co-Conspirator 1sent an email to several.Victim 5
employees containing what appeared to be an employee's usemame and password as proofthat
he "hacked" the company's database and indicated that "I can help you to avoid this hack again
but I want fees in return."

           JJ. On or about July 27, 2014, after arepresentative ofVictim 5agreed to pay
€5,000, Co-Conspirator 1instructed the representative to send the money to ROMAR and
described ROMAR as "my partner and he [is] responsible for receiving money        "
           KK. Onor about July 27,2014, Co-Conspirator 1 forwarded a document to
ROMAR, which was ascan ofastatement indicating that Victim 5was sending money to
ROMAR's PayPal account in exchange for "ethical penetration testing received."
           LL. On or about July 28,2014, ROMAR received three payments totaling €5,000
from Victim 5.

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          MM. Beginning on or about July 31,2014, ROMAR transferred the payments from
Victim 5(minus nominal fees) from his PayPal account to his bank account in Germany.

                 All in violation ofTitle 18, United States Code, Section 371.




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                                             COUNT TWO

        Conspiring to Commit Unauthorized Computer Intrusions (18 U,S,C, §1030(b))
THE GRANDJURY FURTHER CHARGES THAT:

        18.       Paragraphs 1through 13 ofthe Indictment are incorporated herein by reference.
        19.       Beginning as early as in or about January 2013, the exact date being unknown to
the Grand Jury, and continuing through in or about September 2014, in the Eastern District of
Virginia and elsewhere, the defendant, PETER ROMAR (a/k/a "PIERRE ROMAR"), did
knowingly and willfully combine, conspire, confederate, and agree with others known and
unknown to the Grand Jury, to commit the following offenses:
              A. to intentionally access a computer without authorization and exceed authorized
access, thereby obtaining information from aprotected computer, and (i) the offense was
committed for purposes ofconmiercial advantage and private financial gain; (ii) the offense was
committed in furtherance ofa criminal act in violation ofthe Constitution and the laws ofthe
United States, namely Title 18, United States Code, Sections 875, 880; and (iii) the value ofthe
information obtained exceeded $5,000, in violation ofTitle 18, United States Code, Sections
1030(a)(2), (c)(2)(B)(i), (c)(2)(B)(ii), (c)(2)(B)(iii);
              B. to knowingly, and with intent to defraud, access a protected computer without
authorization and exceed authorized access, and by means ofsuch conduct further the intended
fraud and obtain anything ofvalue, in violation of Title 18, United States Code, Sections
1030(a)(4) and (c)(3)(A);

              C. to knowingly cause the transmission ofaprogram, information, code, and
command, and as result ofsuch conduct intentionally cause damage without authorization to a
protected computer, and the offense caused or would have caused (i) loss to persons during a
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one-year period from the defendant's course ofconduct affecting protected computers
aggregating at least $5,000 in value, and (ii) damage affecting 10 or more protected computers
during aone-year period, in violation ofTitle 18, United States Code, Sections 1030(a)(5)(A)
and (c)(4)(B); and

           D, to transmit in interstate and foreign commerce any communication containing any
(i) threat to cause damage to aprotected computer, (ii) threat to obtain information from a
protected computer without authorization and in excess ofauthorization and to impair the
confidentiality ofinformation obtained from aprotected computer v^dthout authorization and by
exceeding authorized access, and (iii) demand and request for money and other thing ofvalue in
relation to damage to a protected computer, where such damage was caused to facilitate the
extortion, all with the intent to extort from any person any money and other thing ofvalue, in
violation ofTitle 18, United States Code, Sections 1030(a)(7) and (c)(3)(A).

                All in violation ofTitle 18, United States Code, Section 1030(b).




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                                          COUTVT THREE


                ConspiringtoLaunder Monetary Instruments (IS U,S,C, § 1956(h))
THE GRAND JURY FURTHER CHARGES THAT:

        20.       Paragraphs 1through 13 ofthe Indictment are incorporated herein by reference.
        21.       Beginning as early as in or about January 2013, the exact date being unknown to
the Grand Jury, and continuing through in or about September 2014, in the Eastern District of
Virginia and elsewhere, the defendant, PETER ROMAR (a/k/a "PIERRE ROMAR"), did
knowingly and willfully combine, conspire, confederate, and agree with others known and
unknown to the Grand Jury, to commit the following offenses against the United States in
violation of Title 18, United States Code, Section 1956, to wit:

              A. to knowingly conduct and attempt to conduct afinancial transaction affecting
interstate and foreign commerce, which involved the proceeds ofaspecified unlawful activity,
that is an offense under Title 18, United States Code, Section 875 and an offense under Title 18,
United States Code, Section 1030, with the intent to promote the carrying on ofspecified
unlawful activity, that is an offense under Title 18, United States Code, Section 1030, and that
while conducting and attempting to conduct such financial transaction knew that the property
involved in the financial transaction represented the proceeds ofsome form ofunlawful activity
in violation ofTitle 18, United States Code, Section 1956(a)(l)(A)(i); and
              B. to knowingly conduct and attempt to conduct afinancial transaction affecting
interstate and foreign commerce, which involved the proceeds ofspecified unlawful activity, that
is an offense under Title 18, United States Code, Section 875 and an offense under Title 18,
United States Code, Section 1030, knowing that the transactions were designed in whole or in
part to conceal and disguise the nature, location, source, ownership, and control ofthe proceeds
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ofspecified unlawful activity, and that while conducting and attempting to conduct such
financial transactions, knew that the property involved in the financial transactions represented
the proceeds ofsome form ofunlawful activity, in violation ofTitle 18, United States Code,
Section 1956(a)(l)(B)(i); and

              C. to transport, transmit and transfer and attempt to transport, transmit and transfer a
monetary instrument and f\mds from aplace in the United States to and through aplace outside
the United States with the intent to promote the carrying on ofspecified unlawful activity, in
violation ofTitle 18, United States Code, Section 1956(a)(2)(A).
                                Manner and Means of the Conspiracy
        22.      The manner and means by which the defendant, PETER ROMAR (a/k/a
"PIERRE ROMAR"), and his co-conspirators sought to accomplish the objectives of the
conspiracy included, among others, the following:
              A. Paragraph 16 ofthis Indictment is incorporated herein by reference.
              B. On or about December 27, 2013, ROMAR received a Western Union payment
from Victim 2 of approximately €1039.13, before fees and taxes.

              C. On or about July 28, 2014, ROMAR received three payments from Victim 5
totaling €5,000.



                   All in violation ofTitle 18, United States Code, Section 1956(h).




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                                    FORFEITURE NOTTrff

THE GRAND JURY HEREBY FINDS THAT:

        23.     Pursuant to Federal Rule ofCriminal Procedure 32.2(a), the United States of
America gives notice to defendant PETER ROMAR (a/k/a '^PIERRE ROMAR") that in the
event ofhis conviction ofany of the offenses charged in Counts 1through 3ofthis Indictment,
the United States intends to forfeit the defendant's property as further described in this
FORFEITURE NOTICE.

        24.     Pursuant to Title 18, United States Code, Section 981 (a)(1)(C) and Title 28,
United States Code, Section 2461, ifthe defendant, PETER ROMAR (a/k/a *TIERRE
ROMAR'), is convicted ofconspiracy to transmit an interstate communication ofthreats, in
violation ofTitle 18, United States Code, Section 371, then he shall forfeit to the United States of
America any property, real or personal, which constitutes or is derived from proceeds traceable
to the conspiracies.

        25.    Pursuant to Title 18, United States Cqde, Sections 981(a)(1)(A) and 982(a)(1) and
Title 28, United States Code, Section 2461, ifthe defendant, PETER ROMAR (a/k/a
"PIERRE ROMAR"), is convicted ofconspiracy to commit money laundering, in violation of
Title 18, United States Code, Section 1956(h), then he shall forfeit to the United States of
America, pursuant to Title 18, United States Code, Section 981(a)(1)(A), any property, real or
personal, involved in atransaction or attempted transaction in violation of Section 1956, or any
property traceable to such property, and pursuant to Title 18, United States Code, Section
982(a)(1), any property, real or personal, involved in such an offense, or any property traceable
to such property.



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        26.     Pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(i), if the
defendant, PETER ROMAR (a/k/a "PIERRE ROMAR"), is convicted ofconspiracy to
commit unauthorized computer intrusions, in violation ofTitle 18, United States Code, Section
1030(b), then he shall forfeit to the United States ofAmerica his interest in any personal property
that was used or intended to be used to commit or to facilitate the commission ofsuch violation,
and any property, real or personal, constituting or derived from any proceeds that he obtained, •
directly or indirectly, as a result of such violation.




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                                            SUBSTITUTE ASSETS

               27.    If any of the property described above, as aresult ofany act or omission ofthe
       defendant, PETER ROMAR (a/k/a "PIERRE ROMAR"), (a) cannot be located upon the
       exercise of due diligence; (b) has been transferred or sold to, or deposited with, athird party;
       (c) has been placed beyond the jurisdiction ofthe court; (d) has been substantially diminished in
       value; or (e) has been commingled with other property which cannot be divided without
       difficulty, the United States ofAmerica shall be entitled to and intends to seek forfeiture of
       substitute property pursuant to Title 21, United States Code, Section 853(p), as incorporated by
      Title 28, United States Code, Section 2461(c).


        Pursuant to Title 18, United States Code, Sections 981, 982, and 1030; Title 21, United States
                        Code, Section 853; Title 28, United States Code, Section 2461.

                                                    A TRUE BILL

                                                       Pursuant to the E-Government Act,,
                                                    The original of this page has been filed
                                                         under seal In the Clerk's Office
                                                    FOREPERSON




      DANA J. BOENTE                                JOHN P. CARLIN
      UNITED STATES ATTORNEY                        ASSISTANT ATTORNEY GENERAL
                                                    NATIONAL SECURITY DIVISION
By:
          idon L. Vah-Grack                         Scott K. McCulloch
      Special Assistant United States Attorney      Nathan M.F. Charles
                                                    Trial Attorneys
      Jay V. Prabhu                                 Counterintelligence and Export Control Section
      Maya D. Song
      Assistant United States Attorneys


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